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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   ROBERTO ORTIZ,                    )
                                     )
      Plaintiff,                     )
                                     )
          v.                         )                   CASE NO. 1:19-CV-22601-DPG
                                     )
   EXPERIAN INFORMATION              )
   SOLUTIONS, INC., TRANS UNION LLC, )
   and AMERICAN HONDA FINANCE        )
   CORPORATION,                      )
                                     )
      Defendant.                     )
                                     )

               DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S
                      CORPORATE DISCLOSURE STATEMENT

         Pursuant to Fed. R. Civ. P. 7.1, the undersigned, counsel of record for Experian Information

  Solutions, Inc. (“Experian”), hereby certifies that the following listed parties have a direct,

  pecuniary interest in the outcome of this case. This certification is made to enable the Court to

  evaluate possible disqualification or recusal:

         1.      Parent Companies: The ultimate parent company of Experian is Experian plc.

         2.      Subsidiaries Not Wholly Owned: The following companies are the US-based
                 subsidiaries of Experian plc that are not wholly owned:

                         (a)     Central Source LLC

                         (b)     Online Data Exchange LLC

                         (c)     New Management Services LLC

                         (d)     VantageScore Solutions LLC

                         (e)     Opt-Out Services LLC
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        3.     Publicly Held Companies: Experian plc owns 100 percent of Experian. Experian
               plc is registered as a public company in Jersey, Channel Islands, and is publicly
               traded on the London Stock Exchange.



  Dated: August 6, 2019


                                        Respectfully submitted,
                                        /s/ Michael A. Maugans
                                        Michael A. Maugans
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                                        Counsel for Experian Information Solutions,
                                        Inc.




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                                   CERTIFICATE OF SERVICE

            I hereby certify that on August 6, 2019, I electronically filed the foregoing document

     with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

     served this day on counsel of record via transmission of Notices of Electronic Filing generated

     by CM/ECF.




                                                          /s/ Michael A. Maugans
                                                          Michael A. Maugans




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